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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 07-cr-65-01-SM

Noel Boufford

                                    ORDER

      Defendant Boufford’s motion to continue the final pretrial conference and

trial is granted (document 18). Trial has been rescheduled for the July 2007

trial period. Defendant Boufford shall file a waiver of speedy trial rights not

later than June 15, 2007. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendant the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: June 27, 2007 at 2:30 p.m.

      Jury Selection: July 10, 2007 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

June 4, 2007

cc:   James W. Dennehy, Esq.
      Mark Irish, AUSA
      US Probation
      US Marshal




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